09-17442-cgm        Doc 273      Filed 04/12/10 Entered 04/12/10 12:16:28                   Main Document
                                             Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                       )
In re:                                                                 )    Chapter 11
                                                                       )
CITADEL BROADCASTING CORPORATION, et al.,                              )    Case No. 09-17442 (BRL)
                                                                       )
                         Debtors.                                      )    Jointly Administered
                                                                       )

               ORDER EXTENDING THE EXCLUSIVE PERIODS DURING
                    WHICH ONLY THE DEBTORS MAY FILE A
              CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

         Upon the motion (the “Motion”)1 of Citadel Broadcasting Corporation (“Citadel”) and its

debtor affiliates, as debtors and debtors in possession (collectively, the “Debtors”), for entry of

an order (the “Order”), pursuant to section 1121(d) of title 11 of the United States Code (the

“Bankruptcy Code”) extending (i) by 91 days the exclusive period of time during which only the

Debtors may file a plan of reorganization (the “Excusive Filing Period”) through and including

July 19, 2010 and (ii) by 90 days the period of time during which only the Debtors may solicit

acceptances of a plan of reorganization (the “Exclusive Solicitation Period,” and, together with

the Exclusive Filing Period, the “Exclusive Periods”) through and including September 16,

2010, all as more fully described in the Motion; and the Court having jurisdiction to consider this

Motion and the relief requested therein in accordance with 28 U.S.C §§ 157 and 1334 and the

Standing Order M-61 Referring Bankruptcy Judge for the Southern District of New York Any

and All Proceedings Under Title 11, dated July 10, 1984 (Ward, Acting C.J.); and consideration

of the Motion and the relief requested therein being a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant to 28


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    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.
09-17442-cgm      Doc 273      Filed 04/12/10 Entered 04/12/10 12:16:28            Main Document
                                           Pg 2 of 2



U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion being adequate and

appropriate under the particular circumstances; and a hearing having been held to consider the

relief requested in the Motion (the “Hearing”); and upon the record of the Hearing and all

proceedings had before the Court; and the Court having found and determined that the relief

sought in the Motion is in the best interests of the Debtors’ estates, their creditors and other

parties in interest and that the legal and factual bases set forth in the Motion establish just cause

for the relief granted herein; and any objections to the requested relief having been withdrawn or

overruled on the merits; and after due deliberation and sufficient cause appearing therefor, it is

hereby ORDERED:

       1.      The Motion is granted to the extent provided herein.

       2.      Pursuant to section 1121(d) of the Bankruptcy Code, the Exclusive Filing Period

is hereby extended through and including July 19, 2010 and the Exclusive Solicitation Period is

hereby extended through and including September 16, 2010.

       3.      This Order is without prejudice to the Debtors’ ability to seek further extensions

of the Exclusive Periods pursuant to section 1121(d) of the Bankruptcy Code.

       4.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       5.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated: New York, New York                            /s/Burton R. Lifland
      April 12, 2010                                 The Honorable Burton R. Lifland
                                                     United States Bankruptcy Judge




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